Thomas and Clara E. Lovett, Petitioners, v. Commissioner of Internal Revenue, RespondentLovett v. CommissionerDocket No. 31114United States Tax Court18 T.C. 477; 1952 U.S. Tax Ct. LEXIS 175; June 9, 1952, Promulgated *175 Decision will be entered under Rule 50.  Credit for Dependents -- Over Half Support -- Arrearages under Court Order -- Employee Wages -- Section 25(b)(3).  -- Arrearages of prior year paid by a divorced husband to his former wife under Court order for support of minor children are not part of support for current year for purposes of section 25(b)(3), but amount paid by mother for assistance in caring for the children is a part of the cost of their support.  R. E. Boller, Jr., Esq., for the petitioners.James A. Scott, Esq., for the respondent.  Murdock, Judge.  MURDOCK *477  The Commissioner determined deficiencies in income tax of $ 200 for 1947 and $ 199.20 for 1948.  The only issue for decision is whether the petitioners furnished over half of the support of Clara's two minor sons for 1947 and 1948.*478  FINDINGS OF FACT.The petitioners, husband and wife since their marriage on November 14, 1947, filed their joint returns for the taxable years with the collector of internal revenue for the tenth district of Ohio.They claimed as dependents on those returns the two minor sons of Clara by a prior marriage.  The two sons lived with Clara at all times material*176  hereto.The father of the two boys was Tony Rumpff, from whom Clara was divorced in 1944.  The divorce decree ordered Tony to pay Clara $ 12 per week for the support of the two boys.  He made no payments during 1946 and Clara obtained a Court order on January 3, 1947, which required Tony to pay Clara each week $ 12 as support money and $ 5 until arrearages of $ 215 had been liquidated.Tony paid Clara $ 816 in 1947 for the support of the two boys; $ 576 of that amount was for current payments in 1947 at the rate of $ 12 per week and $ 240 1 represented support payments which had accrued in 1946.  Tony paid Clara $ 644 in 1948 for the support of the two minor children.The total cost of the support of the dependents was $ 1,522.80 for 1947 and $ 1,322.70 for 1948.  Clara or Clara and Thomas, the petitioners, paid over half of those amounts for each year.The stipulation of facts is incorporated herein by this reference.OPINION.The two*177  questions only require decision.  One is whether the $ 240 paid by Tony to Clara in 1947 is to be considered as received from Tony for the 1947 support of the dependents.  It was paid pursuant to Court order for arrearages due for 1946 and "represented support payments which had accrued in 1946." Only $ 576 of his 1947 payments represented "current payments in the year 1947." The $ 240 was not for the support of the boys for 1947 but was to reimburse Clara for amounts she had had to pay for their 1946 support.  It should not, under the circumstances, be considered in determining whether Tony or Clara paid over half of the support of the boys "for the calendar year" 1947.The other question is whether amounts which Clara had to pay others solely for caring for the children while she was working to earn money for their support should be considered a part of the cost of their support.  Any reasonable amount paid others for actually caring for children as an aid to the parent is a part of the cost of their support.  The employment of others to aid in caring for children *479  must be left to the discretion of the parent and can not be questioned in a case like this unless, perhaps, *178  where some gross abuse of that discretion appears.  Here Clara was well within her rights.Decision will be entered under Rule 50.  Footnotes1. The discrepancy in the amounts is not explained or relied upon as an argument.↩